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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

         Plaintiff,


v.                                                                         Case No. 07-CR-10034-01-JTM
                                                                                No. 16-CV-1179-JTM
ACE A. ALDERSHOF,

         Defendant.


                                  MEMORANDUM AND ORDER
                                GRANTING MOTION TO LIFT STAY
                               AND GRANTING MOTION TO VACATE

         On September 1, 2016, the court issued an order (Dkt. 132) staying further action on

defendant’s Motion to Vacate under 28 U.S.C. § 2255 (Dkt. 121), pending a decision by the

United States Supreme Court in Beckles v. United States, Docket No. 15-8544 (June 27, 2016).

Defendant now moves to lift the stay (Dkt. 135), arguing that he is entitled to immediate release

if the court rules in his favor, removes the career offender status in calculating his guideline

range, and gives him a reduction for his substantial assistance under U.S.S.G. § 5K1.1 that

corresponds to the one granted at his initial sentencing.1 The government argues that “[u]nless

and until the Supreme Court finds Johnson applies retroactively to the Guidelines, any relief

afforded the defendant would be premature and quite possibl[y] contrary to established – and




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  Defendant subsequently filed a motion to amend (Dkt. 137) his motion to lift the stay. Although styled as a motion
to amend, it is essentially supplemental authority in support of the motion to lift the stay. Because it was filed before
defendant’s deadline to file his reply expired, the court will consider it as his reply. Accordingly, the court denies the
motion to amend as unnecessary.


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imminent – Supreme Court precedent.” Dkt. 136 at 2. For the following reasons, the court grants

the motion to lift the stay, and will now consider the § 2255 motion on the merits.

I.      Motion to Lift Stay

        In civil cases, the Tenth Circuit has ruled that “[w]hen applying for a stay, a party must

demonstrate a clear case of hardship or inequity if even a fair possibility exists that the stay

would damage another party.” Ben Ezra, Weinstein, & Co., Inc. v. Am. Online Inc., 206 F.3d

980, 987 (10th Cir. 2000). This rule vindicates the underlying principle that a party’s right to

proceed in court should not be denied except under the most extreme circumstances. Commodity

Futures Trading Comm'n v. Chilcott Portfolio Mgmt., Inc., 713 F.2d 1477, 1484 (10th Cir.

1983). A criminal defendant’s right to proceed on a § 2255 motion is equally if not more

important than an ordinary civil litigant. See Yong v. I.N.S., 208 F.3d 1116, 1120 (9th Cir. 2000)

(explaining that “habeas proceedings implicate special considerations that place unique limits on

a district court's authority to stay a case in the interests of judicial economy”).

        As of the date of this Order, defendant has served almost 107 months of his 144-month

sentence. Without career offender status, defendant would have an adjusted base offense level of

29 and a Criminal History Category VI, resulting in a guideline range of 151 to 188 months. If

the court decided to grant a corresponding reduction of 23% from the recalculated low end of the

range for his substantial assistance under U.S.S.G. § 5K1.1, this would result in a potential new

sentence of 116 months. Taking into account good time credit, defendant might be eligible for

immediate release. Accordingly, there exists a fair possibility that the stay would damage this

defendant by delaying his release from prison. And although it would save judicial resources to

wait for the Supreme Court’s decision in Beckles, defendant’s possible right to immediate release

trumps any judicial economy that a stay would further. For these reasons, the court grants the



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motion to
       t lift stay. See United States v. Miller,
                                         M       Case No. 16-80880 (10th Cirr. Nov. 2, 22016)

(directing
         g district cou
                      urt to vacatee its prior ord
                                                 der staying tthe case andd consider deefendant’s § 2255

motion on
       o the meritss); United Sta
                                ates v. Careyy, Case No. 16-8093, 20016 WL 65443343, at *3 (10th

       v. 4, 2016) (same); Unitted States v. Smith, Cas e No. 16-80091 (10th Ciir. Nov. 9, 22016)
Cir. Nov

(same). The court, however, reserves ruliing on the question off whether a stay woulld be

appropriaate in casess where a defendant’s
                               d           likely releasse date is aafter Beckless is likely tto be

decided.

II.    Motion
       M      to Va
                  acate Senten nce Under § 2255
       A.
       A     Retrooactivity of Johnson
                               J       as Applied to Guidelines

       In
        n United Sta
                   ates v. Daugh
                               herty, Case No.
                                           N 07-87, 22016 WL 44442801 (N. D
                                                                          D. Okla. Augg. 22,

2016), Ju
        udge Terence Kern conccluded that a Johnson/M
                                                    Madrid challeenge to a Guuidelines senntence

may be raised by a deefendant on collateral reeview with thhe followingg analysis:

        The normal framework for determin
       “T                                    ning whetheer a new rulle applies too cases on
       co
        ollateral rev
                    view stems from
                                f    the pluurality opiniion in Teaguue v. Lane, 489 U.S.
       288, 109 S.Ct. 1060, 1033 L.Ed.2d 3334 (1989).” W Welch, 136 S. Ct. at 12664. Under
       th
        hat framewo ork, “new constitutiona
                                c           al rules of criminal prrocedure wiill not be
       ap
        pplicable too those casees which haave become final beforre the new rules are
       an
        nnounced.” Id. (internaal quotationss omitted). TTwo categories of deciisions fall
       ou
        utside this general
                    g       bar on
                                o retroactivvity: (1) new
                                                        w “substantiive” rules off criminal
       prrocedure; an
                    nd (2) new “watershed”” rules of crriminal proccedure. Id. D Defendant
        nvokes only the exceptio
       in                      on for new “ssubstantive”” rules.

       Welch
       W       explaained how to determin
                                        ne whether a new rulle is substantive or
       prrocedural:

           A rule is substantive
                     s            rather
                                  r      than procedural
                                              p          iff it alters thee range of conduct
           or the classs of person
                                 ns that the laaw punishess. This incluudes decisionns that
           narrow thee scope of a criminal sttatute by intterpreting itss terms, as w well as
           constitutio
                     onal determminations thaat place paarticular conduct or ppersons
           covered byy the statute beyond the State's powwer to punishh. Procedurall rules,
           by contraast, regulate only the manner of determining the defenndant's
           culpability
                     y. Such ru  ules alter th he range oof permissiible methodds for
           determininng whether a defendan    nt's conduct is punishaable. They ddo not
           produce a class of peersons convicted of connduct the laaw does nott make



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   criminal, but merely raise the possibility that someone convicted with use of
   the invalidated procedure might have been acquitted otherwise.
Welch, 136 S. Ct. at 1264–65 (internal citations omitted). The Johnson rule was
substantive because it “changed the substantive reach” of the ACCA and altered
the class of persons that the ACCA punishes. The Court reasoned:
   Before Johnson, the [ACCA] applied to any person who possessed a
   firearm after three violent felony convictions, even if one or more of those
   convictions fell under only the residual clause. An offender in that situation
   faced 15 years to life in prison. After Johnson, the same person engaging in
   the same conduct is no longer subject to the Act and faces at most 10 years
   in prison. The residual clause is invalid under Johnson, so it can no longer
   mandate or authorize any sentence. Johnson establishes, in other words, that
   even the use of impeccable factfinding procedures could not legitimate a
   sentence based on that clause.
Id. (internal citations and quotations omitted).
Applying Teague and Welch, the United States argues that invalidity of a statutory
sentencing mandate must be contrasted with invalidity of an advisory Guideline
range. The United States contends that an “erroneous career-offender designation
is a procedural step in a multi-step process that results in a court's selection of a
sentence, not a substantive rule that expands or contracts the statutory range of
outcomes” and that “the identically-worded residual clause that is substantive
when applied to the ACCA, is procedural as applied to the Guidelines.” (Doc. 36
at 10; Doc. 38 at 3.) Conversely, Defendant contends that Welch's reasoning
applies equally to the residual clause in the Guidelines.
The Court concludes that Johnson's invalidation of the residual clause in U.S.S.G.
§ 4B1.2(a)(2), as recognized by the Tenth Circuit in Madrid, is a new substantive
rule in this circuit that applies retroactively to cases on collateral review. The
Court adopts the reasoning of the only circuit that has addressed this question. See
In re Hubbard, No. ––– F.3d ––––, 2016 WL 3181417, at *7 (4th Cir. June 8,
2016) (granting request for authorization to file successive § 2255 motion)
(holding that Johnson, as applied to the Guidelines, is a new substantive rule that
applies retroactively to cases on collateral review). The Fourth Circuit reasoned
that the “substantive reach of the Sentencing Guidelines would be altered just as
much as was true for the ACCA.” Id. at *7. The court further reasoned that the
Guidelines, while ultimately discretionary, “hardly represent a mere suggestion to
courts about the proper sentences defendants should receive.” Id.; see also United
States v. Beck, No. 8:13CR62, 2016 WL 3676191, at *7–8 (D. Neb. July 6, 2016)
(reaching same conclusion).
Although the Tenth Circuit has not issued a substantive holding on retroactivity, it
has granted authorization to file second or successive petitions challenging the
Guidelines' residual clause. See, e.g., In re Encinias, No. 16–8038, 2016 WL
1719323, at *1 (10th Cir. Apr. 29, 2016). Further, similar to the Hubbard court,
the Madrid court reasoned that the Guidelines remain the “mandatory starting
point for a sentencing determination” and that “a district court can be reversed for

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        faailing to coorrectly applly them despite the abbility to latter deviate from the
        reecommended   d range.” Madrid,
                                 M        805 F.3d
                                              F     at 12111. Accordinggly, followinng Fourth
        Circuit
        C         precedent and Tenth Cirrcuit reasonning, the C      Court holds that a
        Johnson/Mad
        Jo            drid challeng
                                  ge to a Guideelines sentennce may be raised by a defendant
        onn collateral review.
                       r

Daugherrty, 2016 WL
                  L 4442801, at
                             a *5-6. The court finds tthe above annalysis persuuasive and adopts

it. The co
         ourt conclud
                    des that Johnson applies retroactively
                                             r           y to the Guiddelines.

        B.
        B       Pertin
                     nent Framework of thee USSG

        Defendant
        D         was sentenced         S.S.G. § 4B11.1(a), whicch provides, in relevant part,
                              d under U.S

that a deffendant is a career
                       c      offender if:

         (1)
         ( the defeendant was at least eig       ghteen yearss old at thee time the ddefendant
        coommitted th he instant offfense of con nviction; (2) the instant offense of cconviction
        iss a felony thaat is either a crime of viiolence or a ccontrolled suubstance offfense; and
        (33) the defenndant has at least two prior
                                                 p     felony convictionss of either a crime of
        violence or a controlled substance offfense.
U.S.S.G. § 4B1.1. Th
                   he USSG deffines “crimee of violencee” as:

         ny offense under
        an          u      federaal or state law, punishaable by imprisonment ffor a term
        ex
         xceeding one year, that--
        (1
         1) has as an element thee use, attemp
                                             pted use, orr threatened use of physsical force
        ag
         gainst the peerson of anotther, or
        (2
         2) is murderr, voluntary manslaughteer, kidnappinng, aggravatted assault, a forcible
        seex offense, robbery, arson, extortio
                                             on, or the uuse or unlawwful possesssion of a
        fiirearm descrribed in 26 U.S.C. 5845(a) or exp losive mateerial as definned in 18
        U.S.C.
        U       841(c)).
U.S.S.G. § 4B1.2.

        The
        T Presenteence Report (“PSR”) deetermined thhe base offeense level ffor conspiracy to

possess 302.373 graams of actu
                             ual methamp
                                       phetamine w
                                                 with intent to distributte was 34 uunder

U.S.S.G. § 2D.1.1(c))(3). PSR att 8, ¶ 30. Th
                                            he PSR adjuusted the offfense level w
                                                                                with a three level

        n for acceptance of resp
reduction                      ponsibility. Id.
                                            I at 9, ¶¶ 36-37. Thee PSR classiified defenddant a

career offfender undeer U.S.S.G. § 4B1.1 baased on his prior Aggraavated Batteery and Crim
                                                                                         minal

Threat co
        onvictions. The
                    T PSR lissted two prio
                                         or convictionns for crimiinal threat, oone committted in

                                                    5
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1998 and
       d the other in 2001. PS
                             SR at 19 and
                                        d 22, ¶¶ 61 and 67. Deefendant hadd one aggravvated

battery conviction. Id
                     d. at 21, ¶ 66
                                  6. These con
                                             nvictions buumped the offfense level back to 34 uunder

U.S.S.G. § 4B1.1. Id
                   d., ¶ 39.

        As
        A the court noted
                    n     in its previous
                                 p        ord
                                            der (Dkt. 1322):

        Amendment
        A              782 to the guidelines reduced
                                               r        the base offense levels asssigned to
        drrug quantitiies in § 2D11.1, effectiv
                                              vely lowerinng the guideelines for soome drug
        offenses. See U.S.S.G., Suppl.
                                 S        to appp. C, amendd. 782 (U.S. Sentencingg Comm’n
        2014). The amendmentt became effective e         Noovember 1,, 2014, andd applies
        reetroactively. The catch is
                                   i that the amendment
                                              a            hhas no impaact on a senttence that
        was
        w based on    n the career--offender prrovision undder § 4B1.1. See Unitedd States v.
        Parker,
        P         2016 WL 145951  18, *2 (10th Cir. 2016).

        Since career--offender staatus requiress at least tw
                                                           wo prior convvictions of eeither a crim
                                                                                                 me of

violence or a controlled substan
                               nce offense, defendant w
                                                      would be enttitled to reseentencing onnly if

the predicate convicttions for crim
                                  minal threat no
                                               n longer quualify as crim
                                                                       mes of violennce.

        C.
        C       Kansa
                    as’ Crimina
                              al Threat Sttatute

        Defendant
        D         arrgues that “K
                                Kansas (sic)) criminal thhreat is not a ‘crime of violence’ w
                                                                                            within

§ 4B1.2’s definition because th
                              he ‘fear’ element contem
                                                     mplated by the statute can be satiisfied

absent prroof of threaat.” Dkt. 121, Memorand
                                            dum of Law at 4. He alsoo argues thaat Kansas’ cuurrent

statute fo
         or criminal th
                      hreat crimin
                                 nalizes a broader swath oof conduct th
                                                                     than § 4B1.22’s definitionn of a

crime of violence beccause it doess not requiree the kind off violent forcce Johnson ddescribed – ““force

capable of
        o causing physical
                  p        pain
                              n or injury to
                                          t another peerson.” Johnnson, 130 S.Ct. at 1271. The

court agrrees with deffendant but for
                                  f other reasons.

        A an initiall matter, deefendant’s convictions ffor criminall threat werre not undeer the
        As

current Kansas
        K      crimiinal statute, Kan. Stat. Ann.
                                             A    §21-54415(a),2 but under Kan. Stat. Ann. § 21-



2
  Kan. Stat. Ann. § 21-5415 (20 011) states: “(a) A crim
                                                       minal threat iis any threaat to: (1) Coommit
violence communicaated with in ntent to place another inn fear, or too cause the evacuation, lock
down or disruption in
                    n regular, on
                                ngoing activities of any bbuilding, plaace of assem
                                                                                  mbly or facility of
                                                   6
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3419 (1998, 2001). The latter defines criminal threat as any threat to “commit violence

communicated with intent to terrorize another, . . . or in reckless disregard of the risk of causing

such terror.” Kan. Stat. Ann. § 21-3419(a)(1). The difference between these statutes, however,

does not affect the court’s analysis or conclusion.

       Defendant’s argument that the fear element can be satisfied absent proof of threat is

conclusory and lacks support. A conviction for Kansas criminal threat requires proof that a threat

was made. State v. Gunzelman, 210 Kan. 481, 486(1972) (“the main elements of the offense are

threats communicated with a specific intent to terrorize another.”). The offense of criminal threat

requires a communication, which involves both the declaration of a threat and the perception and

comprehension of the threat. State v. Woolverton, 284 Kan. 59, 70, 159 P.3d 985, 993 (2007).

       Intent is also a required element. State v. Meinert, 31 Kan.App.2d 492, 499, 67 P.3d 850

(criminal threat requires specific intent), rev. denied, 276 Kan. 972 (2003). Kan. Stat. Ann. § 21-

3419 provides alternative mental states: 1) intent to terrorize, or 2) reckless disregard of the risk

of terrorizing. State v. Williams, 303 Kan. 750, 761 (2016) (“We agree with the Court of Appeals

that the legislature created alternative means when it defined two mental states in K.S.A. 21–

3419(a)(1).”). Because the statute lists alternative means of a single element, it is an indivisible

statute. Mathis v. United States, 136 S.Ct.2243, 2248-50 (2016). Accordingly, the court may not

apply the modified categorical approach to determine the means by which defendant committed

his prior crimes.

       Applying the categorical approach, the court concludes that a criminal threat conviction

under Kan. Stat. Ann. § 21-3419 is not categorically a crime of violence under U.S.S.G. § 4B1.2


transportation, or in reckless disregard of the risk of causing such fear or evacuation, lock down
or disruption in regular, ongoing activities; (2) adulterate or contaminate any food, raw
agricultural commodity, beverage, drug, animal feed, plant or public water supply; or (3) expose
any animal in this state to any contagious or infectious disease.”
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because such an offense encompasses reckless conduct. Courts have consistently held that only

crimes involving purposeful or intentional behavior qualify as crimes of violence. Leocal v.

Ashcroft, 543 U.S. 1, 9 (2004) (use of physical force “most naturally suggests a higher degree of

intent than negligent or merely accidental conduct”); United States v. Zuniga-Soto, 527 F.3d

1110, 1123-24 (10th Cir. 2008) (a mens rea of recklessness does not satisfy use of physical force

requirement); United States v. Armijo, 651 F.3d 1226, 1234 (10th Cir. 2011) (“[O]nly those

crimes with a mens rea of intent or purpose qualify as crimes of violence.”). Because Kan. Stat.

Ann. § 21-3419 includes a mens rea of recklessness, it covers a broader swath of conduct than

the USSG’s definition of “crime of violence.” Thus, defendant’s convictions for criminal threat

may not be used as predicates for career-offender status. The court finds defendant is eligible for

resentencing.

       IT IS THEREFORE ORDERED this 13th day of December, 2016, that defendant’s

motion to lift stay (Dkt. 135) is GRANTED; his motion to amend (Dkt. 137) is DENIED; and

his motion to vacate (Dkt. 121) is GRANTED.

       IT IS FURTHER ORDERED that the probation office prepare an amended PSR and

this matter set for resentencing.



                                                     s/ J. Thomas Marten
                                                     J. THOMAS MARTEN, District Judge




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